     Case 4:22-cv-01004 Document 14 Filed on 05/16/22 in TXSD Page 1 of 10
                                                                    United States District Court
                                                                      Southern District of Texas

                                                                         ENTERED
                    IN THE UNITED STATES DISTRICT COURT                  May 16, 2022
                    FOR THE SOUTHERN DISTRICT OF TEXAS                Nathan Ochsner, Clerk
                              HOUSTON DIVISION


SAE TOWERS, LTD.,                         §
                                          §
                    Plaintiff,            §
                                          §
v.                                        §
                                          §     CIVIL ACTION NO. H-22-1004
TRANSDESIGN INTERNATIONAL LLC,            §
AMADO LIZARRAGA, CLAUS SUTOR,             §
JOSE SALOMON-RODRIGUEZ, and               §
DAVID TORRES,                             §
                                          §
                    Defendants.           §



                        MEMORANDUM OPINION AND ORDER


       Plaintiff, SAE Towers Ltd. ("Plaintiff"), removed this action
from the 457th Judicial District Court of Montgomery County, Texas,
on March 28,       2022. 1    On April s,     2022,   Defendants TransDesign
International LLC, Amado Lizarraga, and Claus Sutor (collectively,
"TransDesign") filed TransDesign Defendants' Second Motion to
Remand     ("Second Motion to Remand") (Docket Entry No.             6).         For
reasons stated below, the Second Motion to Remand will be granted.

           I.    Factual Allegations and Procedural Background

       On September 1, 2017, Plaintiff filed its Application for
Temporary       Restraining    Order,   Temporary     Injunction,    Permanent



      Plaintiff's Notice of Removal ("Second Notice of Removal"),
       1

Docket Entry No. 1. For identification purposes, all page numbers
refer to the pagination imprinted at the top of the page by the
court's Electronic Case Filing ("ECF") system.
   Case 4:22-cv-01004 Document 14 Filed on 05/16/22 in TXSD Page 2 of 10



Injunction, and Petition for Damages in Montgomery County, Texas. 2
The   petition        alleged    that   TransDesign   was    using   Plaintiff's
proprietary       software        without      Plaintiff's     consent,    that
TransDesign' s misappropriation of the software had caused Plaintiff
to lose a prospective client, and that Plaintiff had suffered
irreparable damage. 3           The petition alleged causes of action for
common law misappropriation of trade secrets as well as statutory
misappropriation of trade secrets under the Texas Uniform Trade
Secrets Act, Tex. Civ. Prac. & Rem. Code § 134A. 4
      Plaintiff litigated the matter in state court for nearly four
years, 5 filing six petitions; 6 seeking a temporary restraining
order, 7 a temporary injunction, 8 and continuances of trial; 9 and

      Application for Temporary Restraining Order and Temporary
      2

Injunction to Maintain Status Quo, Permanent Injunction, and
Petition for Damages, Exhibit 7 to Second Motion to Remand, Docket
Entry No. 6-7, p. 2.
      3
          Id. at 5-16   11 11-31.
      4
          Id. at 16-17 11 32-33.
      Memorandum Opinion and Order Remanding Case ( "First Remand
      5

Order"), Exhibit 1 to Second Motion to Remand, Docket Entry
No. 6-1, p. 2.
      6
          Second Notice of Removal, Docket Entry No. 1, p. 2.
      7
          Id. at 1.
      Order Setting Show Cause Hearing for Temporary Injunction
      8

(State Court Filings), Exhibit A to Second Notice of Removal,
Docket Entry No. 1-1, p. 12.
      Order Granting Agreed Motion for Continuance of July 20, 2020
      9

Trial Setting and Request for New Docket Control Order (State Court
Filings), Exhibit A to Second Notice of Removal, Docket Entry
                                                          (continued...)
                                         -2-
   Case 4:22-cv-01004 Document 14 Filed on 05/16/22 in TXSD Page 3 of 10



obtaining      a   settlement   and     dismissal    with   prejudice   against
defendant Falcon Steel America, LLC. 10             In December of 2020 the
state court issued a docket control order setting trial for
September 7, 2021. 11
      On March 16, 2021, the state court granted a motion for
sanctions and motion to compel discovery filed by TransDesign,
imposing sanctions of $10,000 on Plaintiff for Plaintiff's failure
to comply with court orders and discovery obligations. 12 The state
court ordered Plaintiff to "produce to TransDesign all documents in
its   possession,       custody,   or    control    that    are   responsive   to
TransDesign's Fifth Set of Requests for Production (Nos. 75-92)"
within ten calendar days of the order. 13           The court stated that it
"[would]      consider the imposition of 'death penalty' sanctions"
against Plaintiff if Plaintiff failed to timely comply with these
discovery obligations. 14 Although Plaintiff produced some documents



(...continued)
No. 1-1, pp. 176-77; Register of Actions - Events & Orders of the
Court, Exhibit B to Second Notice of Removal, Docket Entry No. 1-2,
p. 5.
     10 Order of Dismissal (State Court Filings) , Exhibit A to Second
Notice of Removal, Docket Entry No. 1-1, p. 215.
      Docket Control Order of December 22, 2020 (State Court
      11

Filings), Exhibit A to Second Notice of Removal, Docket Entry
No. 1-1, p. 218.
      12
        Order Granting TransDesign' s Motion for Sanctions and Motion
to Compel, Exhibit SA to Second Motion to Remand, Docket Entry
No. 6 - 5 , p. 2 4 •
      13
           Id. at 25-26.
      14
           Id. at 26.
                                        -3-
     Case 4:22-cv-01004 Document 14 Filed on 05/16/22 in TXSD Page 4 of 10



by    the deadline,        TransDesign argued that the production was
inadequate and filed another motion for sanctions on April 6,
2021. 15      A hearing on that motion was set for April 23, 2021. 16
       But on April 9, 2021, two weeks before the hearing on "death
penalty" sanctions, Plaintiff amended its state-court pleading to
add two new claims:            (1) a claim seeking "a declaration that
[Plaintiff's] trade secret rights and claims related thereto are
not preempted by the Copyright Act [,]" found at 17 U. s.C. §§ 101,
et seg.; 17 and (2) a claim under the federal Defend Trade Secrets
Act ("DTSA"), 18 U.S.C. § 1836. 18           Plaintiff used these claims as
bases to remove the action to federal court. 19            On March 28, 2022,
Judge George C. Hanks, Jr. remanded the action to state court,
concluding that neither of Plaintiff's purported federal claims
supported removal under 28 U. s.C.           §   1454.20


      The motion itself is not part of the record for this case,
       15

but these facts are set out in the First Remand Order, Exhibit 1 to
Second Motion to Remand, Docket Entry No. 6-1, p. 3.
       16
            Id.



      This petition is not part of the record for this action, but
       17

can be found in the record for Case No. 4:21-cv-1207, where it is
cited as the Fifth Amended Application for Permanent Injunction and
Petition for Declaratory Relief and Damages ("Fifth Amended
Petition"), Exhibit A to Plaintiff's Notice of Removal ( "First
Notice of Removal"), Docket Entry No. 1-1, p. 74 11 62-66. All
future references to this document will refer to the same case
file, Case No. 4:21-cv-1207.
       18
            Id. at 75-76   11 69-73.
        See First Notice of Removal,
       19
                                                 Docket Entry No. 1 in Case
NO. 4 : 21- CV- 12 07, pp . 3 - 4 11 6-10 .
      °First Remand Order, Exhibit 1 to Second Motion to Remand,
       2

Docket Entry No. 6-1, p. 8.
                                       -4-
   Case 4:22-cv-01004 Document 14 Filed on 05/16/22 in TXSD Page 5 of 10




     That same day, March 28, 2022, Plaintiff once again amended
its state court pleading, this time adding claims for copyright
infringement, and removed to this court on that basis.21             At the
time of the amendment the controlling docket control order set a
deadline of April 12, 2021, for "all amendments and supplements to
pleadings[.]"22 After filing its Sixth Amended Petition, Plaintiff
again removed the case to federal court.23
     TransDesign filed the pending motion to remand on April 5,
2022.24 Plaintiff filed a response on April 26, 2022, 25 TransDesign

replied on May 3, 2022, 26 and Plaintiff filed a sur-reply on May 9,

2022.27



      Sixth Amended Application for Permanent Injunction and
     21

Petition for Declaratory Relief and Damages ("Sixth Amended
Petition") (State Court Filings), Exhibit A to Second Notice of
Removal, Docket Entry No. 1-1, p. 40.
      See Docket Control Order of December 22, 2020 (State Court
     22

Filings), Exhibit A to Second Notice of Removal, Docket Entry
No. 1-1, p. 218 (setting trial for September 7, 2021); Amended
Docket Control Order (State Court Filings), Exhibit A to Second
Notice of Removal, Docket Entry No. 1-1, p. 178 (providing that
"[a]ll amendments and supplements to pleadings must be filed" 150
days before trial).
     23   Second Notice of Removal, Docket Entry No. 1.
     24
          Second Motion to Remand, Docket Entry No. 6.
      Plaintiff's Response in Opposition to Motion for Remand
     25

("Plaintiff's Response"), Docket Entry No. 9.
      TransDesign Defendants' Reply in Support of Second Motion to
     26

Remand, Docket Entry No. 10.
      Plaintiff's Sur-Reply in Opposition to Motion for Remand to
     27

Address Issue Raised in Defendants' Reply, Docket Entry No. 13.
                                    -5-
     Case 4:22-cv-01004 Document 14 Filed on 05/16/22 in TXSD Page 6 of 10



                            II.   Applicable Law

       Under the general federal removal statutes, only defendants

may remove cases from state to federal court.                 See 28    u.s.c.
§§ 1441, 1446. However, under 28         u.s.c. §§ 1454 (a) and (b), civil
actions "in which any party asserts a claim for relief arising

under any Act of Congress relating to patents, plant variety

protection, or copyrights                    may be removed by any party[,]"

not just by defendants.

       When a case is removed to federal court, "[t]he removing party

bears the burden of showing that federal jurisdiction exists and

that removal was proper. "            Manguno v. Prudential Property and

Casualty Insurance Co., 276 F.3d 720, 723 (5th Cir. 2002).                    The

jurisdictional determination is based on the claims in the state-

court pleading as it existed at the time of removal.                Id.      Any

ambiguities are construed against removal because the removal

statute should be strictly construed in favor of remand.               Id.


                               III.     Analysis

A.     Plaintiff's Sixth Amended Petition Is Not a Basis for Removal

       Trial in this case was set for September 7, 2021,28 and the

deadline for amending pleadings was "150 days before trial" 29          -    that



      Docket Control Order of December 22, 2020 (State Court
       28

Filings), Exhibit A to Second Notice of Removal, Docket Entry
No. 1-1, P� 218.
      Amended Docket Control Order (State Court Filings), Exhibit A
       29

to Second Notice of Removal, Docket Entry No. 1-1, p. 178.
                                       -6-
   Case 4:22-cv-01004 Document 14 Filed on 05/16/22 in TXSD Page 7 of 10



is, April 10, 2021, a Saturday.          Because any date that falls on a
weekend is moved to the first business day thereafter, 30 the
deadline to amend pleadings was April 12, 2021.              Both parties have
stated that the deadline set by the Amended Docket Control Order
fell    sometime   in   the    first    full    week    of   April    of   2021. 31
Plaintiff's Sixth Amended Petition was filed nearly a year after
the deadline had expired. 32
       A plaintiff that seeks to amend its pleading after the court­
ordered deadline to do so has expired must file a motion for leave,
which the court in its discretion may grant or deny.                  See, e.g.,
Turner v. GoAuto Insurance Company. No. 22-30103, 2022 WL 1302482,
at *1 {5th Cir. May 2, 2022) {holding that an amended complaint was
the operative complaint because the Plaintiff "received permission
from the Louisiana court to amend his complaint"); G.R.A.V.I.T.Y.
Enterprises, Inc. v. Reece Supply Co., 177 S.W.3d 537, 544 {Tex.
App.-Dallas     2005,   no    pet.)    {trial   court    did   not    abuse    its
discretion by striking an amended petition that was untimely under
court's scheduling order).        Plaintiff did not seek leave from the
state court to amend its pleading after the deadline.


       30
          Id.


       31
      TransDesign gives the deadline as April 10, 2021 {Second
Motion to Remand, Docket Entry No. 6, p. 10). Plaintiff has stated
that the deadline was April 9, 2021.     {First Notice of Removal,
Docket Entry No. 1 in Case No. 4:21-cv-1207, p. 2)
      Sixth Amended Petition, Exhibit A to
       32                                                    Second   Notice of
Removal, Docket Entry No. 1-1, p. 40.
                                       -7-
   Case 4:22-cv-01004 Document 14 Filed on 05/16/22 in TXSD Page 8 of 10




     Plaintiff contends that because the state court did not
explicitly set the amendment deadline as "April 10, 2021," but
instead set it for "150 days before trial," the amendment deadline
was mooted when the state court's trial setting was canceled. 33
Therefore, Plaintiff contends, it was "was entitled to amend its
pleadings as it may desire by filing such pleas with the clerk
pursuant to Tex. R. Civ. P. 63." 34       Plaintiff cites no authority for
this proposition, and Plaintiff's argument is contradicted by the
plain language of the Amended Docket Control Order, which states
that "UNLESS OTHERWISE ORDERED BY THE COURT, THE FOREGOING DATES AS
CALCULATED FROM THE TRIAL DATE STATED HEREIN REMAIN THE APPLICABLE
DEADLINES FOR THIS CASE EVEN IF THE TRIAL DATE IS RESET AND
REGARDLESS OF THE REASON FOR ANY RESET." 35
     Moreover, the state court trial setting was canceled because
Plaintiff filed its First Notice of Removal on April 13, 2021,
which was after the deadline for amending pleadings had passed. 36
Therefore, even if all the state court deadlines were tolled by the
first removal, Plaintiff's Sixth Amended Petition would still be
untimely.


     33
          Plaintiff's Response, Docket Entry No. 9, pp. 10-11.
     34   Id. at 11 (internal quotation marks and alterations omitted).
      December 22, 2020 Docket Control Order (State Court Filings),
     35

Exhibit A to Notice of Removal, Docket Entry No. 1-1, pp. 216, 218.
      See First Notice of Removal, Docket Entry No. 1 in Case
     36

No. 4:21-cv-1207.
                                    -8-
     Case 4:22-cv-01004 Document 14 Filed on 05/16/22 in TXSD Page 9 of 10



       Because the Sixth Amended Petition was not properly part of
the    state     court   action,   it    cannot   be       a    basis      for   removal.
Therefore, the live pleading is Plaintiff's Fifth Amended Petition,
which Judge Hanks considered before remanding the case to state
court.37       "As a general rule, once a case is remanded to state
court, a defendant is precluded . . . from seeking a second removal
on the same ground." S.W.S. Erectors, Inc. v. Infax, Inc., 72 F.3d
489, 492 (5th Cir. 1996).               Plaintiff cannot rely on the Fifth
Amended Petition because a federal district court has already
considered and rejected that pleading as a basis for removal.
Because the court concludes that removal was improper for this
reason, the court need not address TransDesign's other arguments
for remand.

B.     The Court Will Not Award Costs and Fees to TransDesign

       TransDesign seeks an award of costs and fees "for having to
pursue a second remand after              [Plaintiff]          filed an objectively

meritless removal."38         Under 28 U.S.C.          §       1447 (c),    "[a] n order

remanding the case may require payment of just costs and any actual

     37 See First Remand Order, Exhibit 1 to Second Motion to Remand,

Docket Entry No. 6-1, p. 7 ("[Plaintiff] argues that it may utilize
28 U.S.C. § 1454 because its newly pled declaratory judgment claim
presents a cause of action arising under federal copyright law. . .
The Court disagrees, and the Court further notes that [Plaintiff's]
other claims do not allow it to use 28 U.S.C. § 1454, either.").
See also S.W.S. Erectors, Inc. v. Infax, Inc., 72 F.3d 489, 492
(5th Cir. 1996) ("As a general rule, once a case is remanded to
state court, a defendant is precluded . . . from seeking a second
removal on the same ground.") (emphasis in original).
       38
            Second Motion to Remand, Docket Entry No. 6, p. 19.
                                         -9-
  Case 4:22-cv-01004 Document 14 Filed on 05/16/22 in TXSD Page 10 of 10



expenses, including attorney fees, incurred as a result of the
removal."   The Supreme Court has explained that
     the standard for awarding fees should turn on the
     reasonableness of the removal .         Absent unusual
     circumstances, courts may award attorney's fees under
     § 1447 (c) only where the removing party lacked an
     objectively reasonable basis for seeking removal.
     Conversely, when an objectively reasonable basis exists,
     fees should be denied.

Martin v. Franklin Capital Corp., 126 S. Ct. 704, 711 (2005).

     Having considered Plaintiff's Second Notice of Removal and the
parties' arguments,     the court concludes that Plaintiff had an
objectively reasonable basis for removal, and the court in its
discretion finds that no unusual circumstances exist that would
justify awarding fees to TransDesign.


                               IV.     Order

     For the reasons stated above, TransDesign Defendants' Second

Motion to Remand (Docket Entry No. 6) is GRANTED, and this action is

REMANDED to the 457th Judicial District Court of Montgomery County,

Texas.   The Clerk will promptly provide a copy of this Memorandum
Opinion and Order to the District Clerk of Montgomery County, Texas.
     Each party will bear its own costs.

     SIGNED at Houston, Texas, on this the- 16th day of May, 2022.




                                       ./siM LAKE
                                  SENIOR UNITED STATES DISTRICT JUDGE


                                     -10-
